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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )  Case No. 1:04-cr-385 (LMB)
                                    )
ALI AL-TIMIMI,                      )
                                    )
      Defendant.                    )
____________________________________)

                                   [PROPOSED] ORDER

       This matter came before the Court on Defendant’s Renewed Motion for Acquittal

Regarding Counts 7 and 8 In Light Of Intervening Supreme Court Authority, Dkt. No. 432,

pursuant to the Fourth Circuit’s modified remand order of July 26, 2016. See Dkt. No. 431. For

good cause shown, the Court hereby GRANTS Defendant’s motion.

       It is hereby ORDERED that Defendant is acquitted of the government’s charges against

him under Counts 7 and 8 in light of the Supreme Court’s intervening opinion in Johnson v.

United States, 135 S. Ct. 2551 (2015). This Court concludes that Johnson has rendered void for

vagueness the 18 U.S.C. § 924(c)(3)(B) residual clause on which Counts 7 and 8 rely.

       It is further ORDERED that the Judgment against Defendant, Dkt. No. 132, be amended

as follows:

       The imprisonment sentences as to Counts 7 and 8 are vacated.

       The imprisonment sentence as to Count 9 is amended to read: “ONE-HUNDRED

TWENTY (120) MONTHS as to Count 9, to be served consecutively to the terms of

imprisonment imposed in Counts 1, 2, 3, 4, 5, and 6.”
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       The imprisonment sentence as to Count 10 is amended to read: “TWO-HUNDRED

FORTY (240) MONTHS as to Count 10, to be served consecutively to the terms of

imprisonment imposed in Counts 1, 2, 3, 4, 5, 6, and 9.”



       SO ORDERED, this ____ date of ___________________________.



                                                           ___________________________

                                                           Hon. Leonie M. Brinkema
                                                           United States District Judge




                                               2
